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                                                    April 8, 2018


Mr. William W. Hyman
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Via Email: William.hyman@gmail.com

         Re:        James Andrew Tanner v. Ziegenhorn, et al.
                    USDC Case No.: 4:17CV780-DPM

Dear Mr. Hyman:

       The Arkansas State Police has located a responsive document to Plaintiff’s Request for
Production No. 16 and, therefore, supplements its response. Please find enclosed a Memorandum
responsive to Plaintiff’s Request for Production No. 16.

                                                        Sincerely,


                                                        Reid Adkins

                                                        Reid Adkins
                                                        Assistant Attorney General



Enclosure




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